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 2
                          UNITED STATES DISTRICT COURT
 3                       CENTRAL DISTRICT OF CALIFORNIA
 4                             WESTERN DIVISION
 5
 6   KENNETH JOHN BARBISAN,                  )     Case No. 2:20-cv-03009-SP
 7                                           )
           Plaintiff,                        )     ORDER AWARDING EQUAL
 8                                           )     ACCESS TO JUSTICE ACT
 9                v.                         )     ATTORNEY FEES AND EXPENSES
                                             )     PURSUANT TO 28 U.S.C. § 2412(d)
10
     KILOLO KIJAKAZI,                        )     AND COSTS PURSUANT TO 28
11   Acting Commissioner of Social           )     U.S.C. § 1920
12
     Security,                               )
                                             )
13         Defendant.                        )
14                                           )
                                             )
15
16         Based upon the parties’ Stipulation for the Award and Payment of Equal
17   Access to Justice Act Fees, Costs, and Expenses:
18         IT IS ORDERED that fees and expenses in the amount of $4,500.00 as
19   authorized by 28 U.S.C. § 2412, and costs in the amount of $0.00 as authorized by
20   28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.
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22   DATE: September 24, 2021        ______________________________________
23                                   HONORABLE SHERI PYM
                                     UNITED STATES MAGISTRATE JUDGE
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